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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

CLAUDETTE MARC,

       Plaintiff,

               v.                                      CASE NO.14-cv-23968

PORTFOLIO RECOVERY ASSOCIATES, LLC,

      Defendant.
_____________________________________/

                                 PLAINTIFF’S COMPLAINT

       COMES NOW Plaintiff, CLAUDETTE MARC (“Plaintiff”), by and through her

attorneys, KROHN & MOSS, LTD., and for her Complaint against Defendant, PORTFOLIO

RECOVERY ASSOCIATES, LLC (“Defendant”), alleges and affirmatively states as follows:

                                      INTRODUCTION

       1.      Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

       2.      Count II of Plaintiff’s Complaint is based on the Florida Consumer Collection

Practices Act (“FCCPA”), Fla. Stat. § 559.55 et seq.

       3.      Count III of Plaintiff’s Complaint is based on the Telephone Consumer

Protection Act (“TCPA”), 47 U.S.C. § 227 et seq.

                                 JURISDICTION AND VENUE

       4.      Jurisdiction of this court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §

1692k(d), and 47 U.S.C. § 227.
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        5.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) as the conduct giving rise to

this action occurred in this district, as Plaintiff resides in this district and Defendant transacts

business in this district.

                                             PARTIES

        6.      Plaintiff is a natural person who resides in Miami, Dade County, Florida.

        7.      Plaintiff is a consumer as that term is defined by 15 U.S.C. § 1692a(3) and Fla.

Stat. § 559.55(2).

        8.      According to Defendant, Plaintiff allegedly owes a debt as that term is defined by

15 U.S.C. § 1692a(5) and Fla. Stat. § 559.55(1).

        9.      Defendant is a business entity with an office located at 120 Corporate Blvd.,

Norfolk, Virginia 23502.

        10.     Defendant is a "debt collector" as that term is defined by 15 U.S.C. § 1692a(6)

and Fla. Stat. § 559.55(6).

        11.     Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                  FACTUAL ALLEGATIONS

        12.     Prior to the filing of this action, an account was placed with Defendant to collect

funds from Plaintiff which were alleged to be owed and past due (“Debt”).

        13.     Based on the type debt Plaintiff allegedly owes, the alleged Debt arises from

transactions which were for personal, family and/or household purposes.

        14.     Around April 2014, Defendant started calling (786)230-65xx, Plaintiff’s cellular

telephone.

        15.     Defendant called Plaintiff from telephone numbers (404)719-4368, (440)638-




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5278,    (731)345-4195,      (731)345-4195,     (205)396-3619,     (620)263-3537,     (412)235-6111,

(817)500-4360, (620)860-1573, (510)343-3502.

         16.      The calls were placed to Plaintiff to attempt to collect the alleged Debt.

         17.      The calls were for a non-emergency-purpose.

         18.      Defendant used an automatic telephone dialing system or other equipment

capable of storing and/or producing telephone numbers (“auto dialer”) to call Plaintiff

         19.      In or around April 2014, Plaintiff spoke to one of Defendant’s employees, and

instructed Defendant to stop calling her cell phone.

         20.      Plaintiff revoked any consent, actual or implied, for Defendant to call her cell

phone.

         21.      Defendant continued to use an auto dialer to call Plaintiff’s cell phone, calling

Plaintiff up to three (3) times per day.

         22.      Defendant knowingly, willfully, and intentionally continued to use an auto dialer

to call Plaintiff’s cell phone.

         23.      Between May 20 and August 6, Defendant used an auto dialer to call Plaintiff’s

cell phone at least twenty-six (26) times.

         24.      Plaintiff is annoyed and feels harassed by Defendant’s repeated collection calls to

her cell phone.

                                       COUNT I
                         FAIR DEBT COLLECTION PRACTICES ACT

         25.      Defendant violated the FDCPA based on the following:

                  a)     Defendant violated § 1692d of the FDCPA by engaging in conduct the

                         natural consequence of which is to annoy Plaintiff.

                  b)     Defendant violated § 1692d(5) of the FDCPA by causing Plaintiff’s



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                          cellular telephone to ring repeatedly and/or continuously with intent to

                          annoy, abuse, or harass Plaintiff.

       WHEREFORE, Plaintiff respectfully requests judgment be entered against Defendant for

the following:

       26.       Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices

Act, 15 U.S.C. 1692k,

       27.       Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection

Practices Act, 15 U.S.C. 1692k,

       28.       Any other relief that this Honorable Court deems appropriate.

                                 COUNT II
                 FLORIDA CONSUMER COLLECTION PRACTICES ACT

       29.       Plaintiff re-alleges and incorporates the foregoing paragraphs herein.

       30.       Defendant violated the FCCPA based on the following:

                 a)       Defendant violated § 559.72(7) of the FCCPA by engaging in conduct

                          which can reasonably be expected to abuse or harass Plaintiff.

       WHEREFORE, Plaintiff respectfully requests judgment be entered against Defendant for

the following:

       31.       Statutory damages pursuant to the Florida Consumer Collection Practices Act,

Fla. Stat. § 559.77(2),

       32.       Costs and reasonable attorneys’ fees pursuant to the Florida Consumer Collection

Practices Act, Fla. Stat. § 559.77(2),

       33.       Any other relief that this Honorable Court deems appropriate.




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                                   COUNT III
                       TELEPHONE CONSUMER PROTECTION ACT

       34.       Plaintiff re-alleges and incorporates the foregoing paragraphs herein.

      35.        Defendant’s actions alleged supra constitute numerous negligent violations of the

TCPA, entitling Plaintiff to an award of $500.00 in statutory damages for each and every

violation pursuant to 47 U.S.C. § 227(b)(3)(B).

      36.        Defendant’s actions alleged supra constitute numerous and multiple knowing

and/or willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory

damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

       WHEREFORE, Plaintiff respectfully requests judgment be entered against Defendant for

the following:

       37.       Statutory damages of $500.00 for each and every negligent violation of the

TCPA pursuant to 47 U.S.C. § (b)(3)(B),

       38.       Statutory damages of $1500.00 for each and every knowing and/or willful

violation of the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C),

       39.       All court costs, witness fees and other fees incurred

       40.       Any other relief that this Honorable Court deems appropriate.


                                                       RESPECTFULLY SUBMITTED,

                                                 By: /s/ Shireen Hormozdi
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